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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   JAMES MILLER et al.,                                Case No.: 3:19-cv-01537-BEN-JLB
12                                      Plaintiffs,
                                                         BRIEF OF AMICUS CURIAE
13   V.                                                  JOHN CUTONILLI
                                                         IN SUPPORT OF PLAINTIFFS
14   CALIFORNIA ATTORNEY
     GENERAL ROB BONTA et al.,
15
                                     Defendants.
16
17
                              Motion for Leave to File Amicus Brief
18
19
            John Cutonilli respectfully moves for leave to file the accompanied Amicus Curiae
20
     Brief in Support of Plaintiffs. Neither party has objected to Cutonilli filing an amicus
21
     brief in this case.
22
            Cutonilli is a resident of Maryland and is subject to the same laws in question in
23
     this case. As he is unable to bring suit against Maryland due to the precedent set in Kolbe
24
     v. Hogan, 849 F.3d 114 (4th Cir. 2017). This particular case is cited throughout the
25
     Defendants Brief. Cutonilli seeks to provide additional insight into other aspects of the
26
     law that were neither addressed in Kolbe nor in the briefs in this case. His intent is to help
27
     this court avoid previous errors so that other fellow Americans are not subject to such
28

                                                      Motion for Leave to File Brief of Amicus Curiae John Cutonilli
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     1 laws, which are detrimental to public safety. No counsel for any party authored this brief
 2      in whole or in part. Apart from amicus curiae, no person contributed money to fund this
 3      briefs preparation and submission.
 4            This brief provides historical insight into how the key phrases, "dangerous and
 5      unusual" and "in common use," relate to societal biases that carry forward into Kolbe. It
 6      provides examples of the commonly accepted uses of"assault weapons," a term defined
 7      in California law. It demonstrates through references to history and precedent, that the
 8      people themselves provide public safety. It provides a discussion of why Bruen
 9      effectively overrules Kolbe. It offers additional textual and history-based interpretation of
10      the text of the Second Amendment. It also provides insight into errors that invalidate the
11      scrutiny process used in other Second Amendment Cases. Cutonilli has filed a similar
12      amicus brief in a related case Bianchi v Frosh (Case 21-1255 in the Fourth Circuit Court
13      of Appeals).
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 8                               UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
10
11      JAMES MILLER et al.,                       Case No.: 3:19-cv-01537-BEN-JLB
12      Plaintiffs,
13      v.                                         BRIEF OF AMICUS CURIAE
14      CALIFORNIA ATTORNEY                       JOHN CUTONILLI
15      GENERAL ROB BONTA et al.,                 IN SUPPORT OF PLAINTIFFS
16      Defendants.
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     1                         CORPORATE DISCLOSURE STATEMENT
 2          Pursuant to Federal Rule of Appellate Procedure 26.1, amicus John Cutonilli certifies
 3       that the amicus is not a publicly held corporation, t at the amicus does not have a parent
 4       corporation, and that no publicly held corporation wns 10 ~ t or more of amicus' s
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 1
                                      INTEREST OF AMICUS CURIAE 1
 2
               Cutonilli is a resident of Maryland and is subject to the similar firearm laws in
 3
     question in this case. He is unable to successfully bring a lawsuit against Maryland due to
 4
     the precedent set in Kolbe v. Hogan, 849 F.3d 114 (4th Cir. 2017). This particular case is
 5
     cited throughout the Attorney General of California's (AGCA) brief (defendants).
 6
     Cutonilli seeks to provide additional insight into other aspects of the law that were neither
 7
     addressed in Kolbe nor in the other briefs in this case. His intent is to help this Court
 8
     avoid previous errors so that other fellow Americans are not subject to such laws.
 9
     Cutonilli has filed a similar amicus brief in a related case Bianchi v Frosh (Case 21-1255
10
     in the Fourth Circuit Court of Appeals).
11
12
                                            SUMMARY OF ARGUMENTS
13
14             Upending the basis on which the Kolbe argument and many other Second
15   Amendment cases largely rests, New York State Rifle & Pistol Association, Inc. v. Bruen,
16   597 U.S._ (2022) unequivocally states that the Second Amendment protects the
17   possession and use of weapons that are "in common use at the time." Importantly, Bruen
18   makes no mention of arms that are "most useful in military service" (See Heller v. D. C.,
19   556 U.S. 570, 627 (2008))- a phrase that the AGCA and Kolbe rely upon but grossly
20   misinterpret. Bruen also rejects the alternative, two-part approach taken in Kolbe and
21   many other Second Amendment cases, and specifically rejects the use of intermediate
22   scrutiny.
23            This brief provides historical insight into how the key phrases, "dangerous and
24   unusual" and "in common use," relate to societal biases that carry forward into this case.
25
26
     1   No party's counsel authored this brief in whole or in part. No party or party's counsel, and no
27       person other than amicus contributed money that was intended to fund preparation or
28       submission of this brief. Neither party has objected to Cutonilli filing an amicus brief in this
         case.

                                                           Brief of Amicus Curiae John Cutonilli in Support of Plaintiffs
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 1   It provides examples of the commonly accepted uses of"assault weapons," a term
 2   defined in California law. It demonstrates through references to history and precedent,
 3   that the people themselves provide public safety. It provides discussion of why Bruen
 4   effectively overrules Kolbe. It offers additional textual and history-based interpretation of
 5   the text of the Second Amendment. It also provides insight into errors that invalidate the
 6   scrutiny process used in Kolbe and many other Second Amendment cases.
 7
                                               ARGUMENTS
 8
     1.     "Dangerous and Unusual" and "in Common Use" relate to societal uses
 9
1o         Bruen also rejects the alternative approach taken in Kolbe and many other Second
11   Amendment cases, which depends on intermediate scrutiny (Bruen at 10). The test that
12   Bruen adopts "requires courts to assess whether modern firearms regulations are
13   consistent with the Second Amendment's text and historical understanding." Id. at 17.
14   While Bruen does not provide an "exhaustive survey" of how to do this, they
15   acknowledge that "Heller and McDonald point toward at least two metrics: how and why
16   the regulations burden a law-abiding citizen's right to armed self-defense." Id. at 20.
17   Bruen 's brief examination of the historical context relates to public and concealed carry
18   provides a case in point for the type of historical and textual analysis privileged by the
19   Court for Second Amendment cases. A fuller examination of the historical prohibitions
20   on some types of public and concealed carry further illuminates this case by revealing
21   analogous misreadings and unfounded biases.
22         Heller and Bruen acknowledged that "[l]ike most rights, the right secured by the
23   Second Amendment is not unlimited." Id. at 12 quoting Heller at 626. They find, for
24   example, that limitations are "fairly supported by the historical tradition of prohibiting
25   the carrying of' dangerous and unusual weapons,"' while, on the other hand, that the
26   Second Amendment protects the possession and use of weapons that are "'in common
27   use at the time."' Id. at 12 quoting Heller at 627. However, neither Heller nor Bruen fully

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 1 examine the historical meaning of the key phrases "dangerous and unusual" and "in
 2     common use."
 3            For this reason, historical context is essential to understand why concealed carry
 4     was prohibited and to determine if prohibitions such as the California's Assault Weapons
 5     Control Act use analogously faulty reasoning. Historically, concealed carry was equated
 6     with criminality, with moral deviancy, when there is no necessary or logical link between
 7     the two. A number of statues in force before the Constitution was written provide
 8     instructive illustrations of these societal biases embedded in the law of the day. For
 9     example, in 1541, a statue against concealed carry was enacted to stop "shameful!
10     muthers roberies felonyes ryotts and routs." by "evil disposed persons." 33 Hen. 8, c. 6, §
11     1 (1541-1542) (Eng.). Similarly, a 1613 proclamation banned the carrying of"Steelets,
12    pocket Daggers, pocket Dags and Pistols" because they were considered "weapons utterly
13     unserviceable for defence, Militarie practise, or other lawful! use, but odious, and noted
14    Instruments ofmurther, and mischief," By The King James I: A Proclamation Against
15    Steelets, Pocket Daggers, Pocket Dagges and Pistols, reprinted in 1 Stuart Royal
16    Proclamations 359-60 (James F. Larkin & Paul L. Hughes eds., 1973).
17           Similar reasoning may be found in many of the early U.S. state court cases. In
18    State v. Reid, 1 Ala. 612 (1840), the court upheld the prohibition on concealed carry
19    because it was believed that concealed weapons would "exert an unhappy influence upon
20    the moral feelings of the wearer, by making him less regardful of the personal security of
21    others." In State v. Chandler, 5 La. Ann. 489 (1850), the court upheld the prohibition
22    because it was believed to promote "secret advantages and unmanly assassinations." In
23    English v. State, 35 Tex. 473 (1871), the court upheld the prohibition because it was
24    thought to "protect that pernicious vice, from which so many murders, assassinations, and
25    deadly assaults have sprung, and which it was doubtless the intention of the legislature to
26    punish and prohibit." In State v. Workman, 14 S.E. 9, 11 (W. Va. 1891), the court upheld
27    the prohibition because concealed arms "are only habitually carried by bullies,
28    blackguards, and desperadoes, to the terror of the community and the injury of the state."
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                                                        Brief of Amicus Curiae John Cutonilli in Support of Plaintiffs
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 1     InAymette v. State, 21 Tenn. 154 (1840), the court upheld the prohibition because the
 2     legislature has "a right to prohibit the wearing or keeping [of] weapons dangerous to the
 3     peace and safety of the citizens, and which are not usual in civilized warfare, or would
 4     not contribute to the common defence."
 5           Importantly, in State v. Buzzard, 4 Ark. 18, 19 (1842), the court upheld the
 6     prohibition on concealed carry because it allowed public carry and, therefore, did not
 7     "detract anything from the power of the people to defend their free state and the
 8     established institutions of the country." This case is particularly instructive for the current
 9     case, as in a contemporary context, the prohibitions it has unjustly enforced in the state of
IO     California have detracted from the power of the people to contribute to public safety, as
11    will be shown in Argument 3.
12           Understanding the historical context through close textual reading enables
13    recognition of the bias inherent in the laws of the day that prohibited concealed carry. It
14    becomes clear, as one court echoes the next down through time, that concealed carry was
15    prohibited because it was associated with criminal behavior, "murther" and "mischiefe,"
16    and the unsavory moral characteristics of"bullies, blackguards, and desperadoes." Open
17    carry, on the other hand, was believed to "incite men to a manly and noble defence of
18    themselves, if necessary, and of their country" See Chandler.
19           Just as there is no necessary connection between concealed carry and criminality,
20    there is no necessary connection between the weapons California deems "assault
21    weapons" and criminality- and yet that is the unfounded bias that permeates the state's
22    position. Indeed, in Arguments 2 and 3, it will be demonstrated that such weapons are "in
23    common use" by law enforcement because of their effectiveness in deterring and
24    combatting criminality.
25           Following Bruen 's mandate to root Second Amendment cases finnly in historical
26    and textual analysis, the court should evaluate the meaning of the phrases "dangerous and
27    unusual" and "in common use" in light of these historical cases and the important
28    example set by State v. Buzzard, which deftly tailors the right of citizens to bear arms in a
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 1     way that upholds the intent of the Founders while acknowledging the realities of the
 2     contemporary social setting. In being guided by any or all of these cases, the court would
 3     be guided rightly by precedent that is intended to limit the consequences of criminally
 4     malicious behavior in society while protecting the rights of law-abiding citizens to use
 5     them lawfully.
 6

 7     2.    "Assault weapons" are in common use
 8
      "Assault weapons," as defined by the state of California, are in common use in society
 9
      today, including in California. In the context of this case, the California legislature has
10
      accepted that they play an important, every-day role in protecting public safety and
11
      property. For example, they are in common use in California among federal, state, and
12
      local law enforcement and are used in the course and scope their regular duties. In
13
      allowing the use of"assault weapons" by the police and other peace officers, the state
14
      acknowledges the public safety benefit that so-called "assault weapons" provide.
15
             Given this fact, it must be asked why- if"assault weapons" provide a
16
      demonstrable and valued public safety benefit in the hands of the police- the same
17
      benefit would be denied to law-abiding citizens?
18
             The hyperbolic nature of California's arguments and its use of biased terms like
19
      "assault weapons" militates against recognition of their beneficial use in society. For
20
      example, the AGCA claims that these "assault weapons" are "much more lethal and [are]
21
      only suitable for military purposes". Yet, clearly, in the hands of the police and, by
22
      extension, law-abiding gun owners, it would be very wro_ng to assume that these weapons
23
      are valued solely for their lethality. Here, California conflates the features and
24
      capabilities of the weapon itself with the purported intent of its users. Such malicious
25
      intent should not be attributed to the government any more than to its law-abiding
26
      citizens. Per Bruen, this case must be reconsidered in light of the fact that the very arms
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 1     that are defined by California as "assault weapons" are not only commonly used in
 2     society but are demonstrably beneficial for the public good.
 3
 4     3.    History and precedent demonstrate that the people provide for public safety
 5
             Many U.S. laws are rooted in the English legal system and can be illuminated by
 6
       an appreciation of their lineage. The Bruen decision emphasizes this fundamental point.
 7
       In the English tradition, the average citizen played a central role in providing law
 8
       enforcement and protection for society at large. Emerging around the time of King Alfred
 9
       ( c 871 ), this tradition persisted by custom for hundreds of years and was more formally
10
       codified with the Statute of Winchester (1285), which included provisions for arming the
11
      people, making arrests, and raising the "hue and cry" to apprehend criminal offenders.
12
      The Statute of Winchester further delineated and established the roles of unpaid
13
      constables and watchmen-private citizens who functioned as security personnel for their
14
      communities.
15
             This system lasted through our founding and was the primary method of law
16
      enforcement at the time. Law enforcement was one of the key roles envisioned for the
17
      militia in colonial America and following the Revolution. (See Article 1 Section 8 Clause
18
       15.) Professional law enforcement agencies did not arise until the mid-19th century, and it
19
      was not until 1878, with the passage of the Posse Comitatus Act, that military and law
20
      enforcement functions were formally separated (Heller at 716, Breyer dissent). The
21
      Maryland State Police pays homage to this long-standing tradition on its website:
22
             "Under English common law, every person had an active responsibility for keeping
23           the peace ... The responsibility included crime prevention through vigilance and the
24           apprehension of suspected lawbreakers by groups of persons raising the 'hue and
             cry' or the more official 'posse comitatus.'"
25
26    This was the most practical system, given the rural conditions in England and America at
27    the time (J. Malcolm, To Keep and Bear Arms 2 (1994)). It was not without its
28    limitations, however, as there was no institutional means to prosecute felons; that was the
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                                                        Brief of Amicus Curiae John Cutonilli in Support of Plaintiffs
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 1 job of the victim (Beattie, J.M., Policing and Punishment in London, 1660-1750: Urban
 2     Crime and the Limits of Terror. p. 226 (2001); Sklansky, The Private Police, 46 UCLA L.
 3     Rev. 1165, 1198 (1999)). Additionally, with the rise of industrialization in the U.S.,
 4     many companies found it necessary to hire private police to protect their interests, which
 5     led to the emergence of private security companies. Today, in fact, in the U.S., the
 6     number of security personnel employed by private security companies outnumbers public
 7     police by a factor of three to two.
 8           However effective police departments may be, the role of the police is inherently
 9     limited. Because the government has limited resources, there are limits to the degree of
10     safety the government can provide. This is not merely a practical issue; it is a legal issue
11     as well. As explained in Warren v. DC, 444 A. 2d 1 (DCCA 1981), " ... courts have
12    without exception concluded that when a municipality or other governmental entity
13    undertakes to furnish police services, it assumes a duty only to the public at large and not
14    to individual members of the community." Id. at 4 (emphasis added). In that case, the
15    District of Columbia was found to have based its case on the "uniformly accepted
16    rule ... that a government and its agents are under no general duty to provide public
17    services, such as police protection, to any particular individual citizen." Id. at 4.
18           Consistently, courts have ruled that public safety, through the government's police
19    power interests, is owed to the public at large and not to any specific individual. (Warren
20    v. DC, 444 A. 2d 1 (DCCA 1981), Fried v. Archer, 775 A. 2d 430 (Md. Ct. Spec. App.),
21    2001, Castle Rockv. Gonzales, 545 U.S. 748 (2005), DeShaney v. Winnebago County,
22    489 U.S. 189 (1989)). Therefore, the government has no interest in the protection of any
23    specific individual because it cannot deliver protection at the individual level.
24           Overturning California law on the basis of this historical legacy, with
25    acknowledgement of the role that lawful citizens play in public safety and the arms that
26    are "in common use" for public safety purposes, will restore Constitutional rights while
27    strengthening law-abiding citizens' ability to contribute to their own safety, that of their
28    families, and the community's safety as well.
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                                                         Brief of Amicus Curiae John Cutonilli in Supp01t of Plaintiffs
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     1     4.     Kolbe was incorrectly decided
     2
                  The Bruen decision confirms the types of arms that the Second Amendment
     3
     4     protects. In doing so, the decision cites the applicable sections of Heller to reiterate the

     5     types of arms protected. Bruen acknowledges that "the right was not a right to keep and
     6
           carry any weapon whatsoever in any manner whatsoever and for whatever purpose."
     7
     8     (Bruen slip opinion 12 citing Heller at 626). Bruen finds that the Second Amendment

     9     protects the possession and use of weapons that are "in common use at the time," id. at 12
    10
           and 38-39 citing Heller at 627, and asserts that examples of Second Amendment
    11
    12     limitations are "fairly supported by the historical tradition of prohibiting the carrying of

    13     'dangerous and unusual weapons."' Id. at 12 citing Heller at 627. It adds that acceptable
    14
          limitations are specific to arms that "are highly unusual in society at large." Id. at 38-39
    15
    16    citing Heller at 627. At no time does Bruen refer to any limitation dealing with arms that

    17    are "most useful in military service." (See Heller at 627).
    18
                 Together, these findings show that the Kolbe Court committed an error when it
    19
,         stated that "we are convinced that the banned assault weapons and large-capacity
    20
          magazines are among those arms that are 'like' 'M-16 rifles'-'weapons that are most
    21
          useful in military service'-which the Heller Court singled out as being beyond the
    22
          Second Amendment's reach." Kolbe at 121. Further, the Court deemed "it prudent and
    23
          appropriate to simply rely on" the key phrase "weapons that are most useful in military
    24
          service" without "needlessly endeavoring to define the parameters of' dangerous and
    25
          unusual weapons."' Id. at 136. Bruen recalibrates the litmus test, holding that "dangerous
    26
          and unusual weapons" are excluded from protection while making no mention of arms
    27
          that are "most useful in military service." The Kolbe Court failed to determine what arms
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 1     are "in common use at the time," id. at 135-136 when these are the very types of arms
 2     that Bruen (reiterating Heller) says warrant Second Amendment protection. Illuminated
 3     by Bruen, it is clear that the Kolbe Court failed to understand what is protected by the
 4     Second Amendment.
 5           The Heller Court never specified that "weapons that are most useful in military
 6     service-M-16 rifles and the like-may be banned" without infringement upon the
 7     Second Amendment right. See Heller at 627, Kolbe at 131. In the conditional tense,
 8     Heller stated, "It may be objected that if weapons that are most useful in military
 9     service-M-16 rifles and the like-may be banned, then the Second Amendment right
10     is completely detached from the prefatory clause" (emphasis added). It was was not
11    singling out that militarily useful weapons are "beyond the Second Amendment's reach."
12    Kolbe at 121. Instead, the Heller Court was acknowledging that the militarily usefulness
13    of weapons, as implied by the prefatory clause, was NOT the criterion for Second
14    Amendment protection.
15           This clarification makes the meaning clear: "We think that Miller's 'ordinary
16    military equipment' language must be read in tandem with what comes after:
17    '[O]rdinarily when called for [militia] service [able-bodied] men were expected to appear
18    bearing arms supplied by themselves and of the kind in common use at the time.' 307
19    U.S., at 179." (emphasis added) Heller at 624. The third sentence of the paragraph then
20    talks about "sophisticated arms that are highly unusual in society at large." (emphasis
21    added).
22           The concept of military usefulness is introduced by Heller to address -- and flatly
23    reject -- the argument that the prefatory clause protects all military arms. In refutation,
24    Heller states plainly:
25
            "Indeed, it may be true that no amount of small arms could be useful against
26          modem-day tanks and bombers. But the fact that modem developments have
            limited the fit between the prefatory clause and the protected right cannot
27
            change our interpretation of the right" (emphasis added).
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 1            As the Bruen decision makes clear, Kolbe misinterpreted Heller, and the Court
 2     failed to properly apply Heller in Kolbe.
 3
 4     5.     Text of the Second Amendment
 5
              As underscored in Heller, the Second Amendment is structurally and
 6
       grammatically divided into two parts: an operative clause and a prefatory clause. The
 7
       operative clause guarantees a pre-existing right of the individual to possess and carry
 8
       weapons in case of confrontation, Heller at 592. The prefatory clause, which refers to this
 9
       right as it relates to the formation of militias, is best understood within the context of the
10
       Tenth Amendment, which clarifies the respective powers delegated to the federal
11
       government or reserved to the states. At the time of the founding, the Second Amendment
12
      was codified to ensure that the federal government did not have the power to disarm the
13
      militia. Id., at 599. It ensures that the federal government does not abridge the right of
14
      citizens to keep and bear arms. Additional examples of the right to keep and bear arms
15
      appear in state declarations of the period, such as the right to possess arms for self-
16
      defense or to hunt. Id. at 642 (Stevens dissenting). These examples are enumerated in
17
      state declarations because they apply at the state and not the federal level. Together, the
18
      Second Amendment plus the various state-level declarations constitute the full expression
19
      of citizens' rights to keep and bear arms.
20
             While the right to keep and bear arms is broader than - or extends beyond - the
21
      Second Amendment in this way, it is not unlimited. Heller at 627, for example, notes the
22
      historical prohibition on carrying "dangerous and unusual weapons," a phrase that
23
      originates in the Statute of Northampton. See 4 Blackstone 148-149 (1769). Neither
24
      Heller nor Bruen elaborate on what is meant by "dangerous and unusual weapons," and
25
      the legal history since Northampton provides little in the way of a clear definition of the
26
      phrase. Nonetheless many assumptions and unfounded assertions have been made.
27
      Fortunately, a number of 17th- and 18th-century treaties provide useful interpretive
28


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 1     context (W. Blackstone, 4 Commentaries on the Laws of England 148-149 (1769), W.
 2     Hawkins, Treatise on the Pleas of the Crown ch 63 § 4 (1716). These texts consistently
 3     demonstrate that there was no general prohibition on carrying common arms, as has been
 4     reiterated in Bruen.
 5
 6     6.    There has been a grave defect in the scrutiny process for nearly 80 years and
             lower courts continue to exploit it
 7
 8           Korematsu v. United States, 323 US 214 (1944) provides an object lesson in the
 9     types of mistakes the courts have made in Second Amendment cases. During World War
10     II the United Stated forced the relocation and incarceration of more than 100,000
11     Japanese Americans, citing concerns for public safety. The Supreme Court found that
12    "exclusion of those of Japanese origin was deemed necessary because of the presence of
13     an un-ascertained number of disloyal members of the group, most of whom we have no
14    doubt were loyal to this country." Id. at 218. The Court's decision resulted in placing
15    restrictions on the Japanese-American population at large-most of whom were law-
16    abiding citizens-because of the purported or potentially illicit acts of a few.
17           While the court acknowledged that "all legal restrictions which curtail the civil
18    rights of a single racial group are immediately suspect," it still asserted that "pressing
19    public necessity may sometimes justify the existence of such restrictions ... " Id. at 216.
20    While claiming that it applied "the most rigid scrutiny," it appears, particularly in
21    retrospect, that the Court instead simply deferred to the government's findings, stating an
22    unwillingness to "reject as unfounded the judgment of the military authorities." Id. at
23    219.
24           Importantly, the dissent in Korematsu claimed that in deferring to the government,
25    the Court had failed to rule on a key judicial question. In doing so, it had permitted the
26    overstepping of" ... the allowable limits of military discretion" and failed to define the
27    "definite limits to [the government's] discretion." Id. at 234. In a statement that
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 1     anticipates the future view of the courts and the American public on the Korematsu
 2     decision, the dissent further argued that:
 3           "[I]ndividuals must not be left impoverished of their constitutional rights on
             a plea of military necessity that has neither substance nor support." Id. at 234
 4
             (Murphy, J., dissenting).
 5
 6           A subsequent trial held long after the war, Korematsu v. United States, 584 F Supp.

 7     1406 (N. D. Cal. 1984), brought forward substantial evidence that the government

 8     omitted relevant information from the Court and also provided misleading information.

 9     While the Court decided not to determine any errors of law, it did grant a writ of coram

10     nobi and cautioned subsequent courts that:

11           "It stands as a caution that in times of distress the shield of military necessity
             and national security must not be used to protect governmental actions from
12           close scrutiny and accountability. It stands as a caution that in times of
13           international hostility and antagonisms our institutions, legislative, executive
             and judicial, must be prepared to exercise their authority to protect all
14           citizens from the petty fears and prejudices that are so easily aroused." Id. at
15           1420

16           While the Court has only recently said "Korematsu was gravely wrong the day it
17    was decided" Trump v Hawaii, 138 S.Ct. 2392, 2423 (2018), it has yet to explain why it
18    was "gravely wrong". One thing is certain.
19           "Korematsu was not excluded from the Military Area because of hostility
20           to him or his race. He was excluded because we are at war with the
             Japanese Empire, because the properly constituted military authorities
21           feared an invasion of our West Coast ... " Korematsu at 223.
22
             At a time of marked "distress ... hostility and antagonism" in the country, Kolbe
23
      employs the same unjust logic that was at work in the case ofKorematsu, arguing that the
24
      government's public safety interest supersedes constitutional guarantees and abridging
25
      the rights of law-abiding citizens because of the wrongdoing of others. As in the
26
      Korematsu case, the Fourth Circuit (Kolbe) deferred to the rule maker (the legislature in
27
      this instance) without putting the evidence before it to the proper test.
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     I           The failure to apply intermediate scrutiny is not unique to the Fourth Circuit but is
 2         part of a broader pattern that has become typical of how Second Amendment cases are
 3         handled. In N. Y. State Rifle & Pistol Ass'n v. City ofN. Y. - 883 F.3d 45 (2d Cir. 2018), the
 4         City presented no empirical evidence, yet the Second Circuit found the challenged rule
 5         met intermediate scrutiny because there was a "substantial fit between the Rule and the
 6         City's interest in promoting public safety." Id. at 64. An assertion of"substantial fit"
 7         stands in for the demonstration of"substantial evidence." Similarly, in Friedman v. City
 8         ofHighland Park, 784 F.3d 406 (7th Cir. 2015), the Seventh Circuit found that the law in
 9         question may increase the public's sense of safety. "If a ban on semiautomatic guns and
10         large-capacity magazines reduces the perceived risk from a mass shooting, and makes the
11        public feel safer as a result, that's a substantial benefit." Id. at 412. Again in Association
12         ofNew Jersey Rifle and Pistol Clubs v. Attorney General New Jersey, 910 F.3d 106
13         (2018), the dissent chastises the majority for substituting "anecdotes and armchair
14        reasoning for the concrete proof that we demand for heightened scrutiny anywhere else."
15        Id. at 126. Nonetheless, the majority found that "the Act survives intermediate scrutiny."
16        Id. at 122.
17               While the Bruen rejected the intermediate scrutiny approach used in Kolbe, this
18        Court should understand the problems that led Bruen to its decision. At the core of
19        intermediate scrutiny is the requirement for the government to draw "reasonable
20        inferences based on substantial evidence" because the government "must demonstrate ...
21        that the regulation will in fact alleviate these harms in a direct and material way." Turner
22        Broadcasting System, Inc. v. FCC, 512 U.S. 622,664 (1994). When courts fail to uphold
23        this essential requirement, they fail to maintain the standard of intermediate scrutiny.
24        Without substantial evidence, the intermediate scrutiny standard devolves to the lower
25        order of the rational basis standard, which does not require substantial evidence. Instead,
26        rational basis cases may be decided using "rational speculation unsupported by evidence
27        or empirical data." FCC v. Beach Communications, Inc. 508 U.S. 307, 315 (1993)
28        (Emphasis added.) Rational basis is inappropriate for fundamental rights, such as those
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 1     comprised by the Second Amendment, Heller at 628. Infamously, in the Korematsu
 2     decision, the Court failed to properly evaluate the evidence and, instead, accepted at face
 3     value the government's assessment of the evidence. This abnegation of the court's proper
 4     role compromised the constitutional rights of American citizens rather than protecting
 5     them - and serves as both an analogy for past Second Amendment cases and an object
 6     lesson for future ones.
 7
                                                CONCLUSION
 8

 9
             Upending the basis on which Kolbe and many Second Amendment cases largely
       rest, Bruen unequivocally states that it protects the possession and use of weapons that
10
11
       are "in common use at the time." Importantly, Bruen makes no mention of arms that are
      "most useful in military service" (See Heller at 627) - a phrase that Kolbe and the AGCA
12
13    rely upon but grossly misinterpret. Weapons defined by California as "assault weapons"

14    are "in common use" and allow the law-abiding people of California to provide for their
      own safety and that of their families and communities.
15
             For the foregoing reasons, this Court should find the A WCA unconstitutional in
16
      light of the Bruen decision.
17
18                                                  Respectfully submitte
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22     0 October 2022
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